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                         UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

WAKITA DALTON, ET AL.                                             CIVIL ACTION

VERSUS                                                            NO. 3:19-CV-578

SHERIFF MIKE CAZES, ET AL.

                                     STATUS REPORT

A.   JURISDICTION

     What is the basis for the jurisdiction of the Court?

           Subject matter jurisdiction pursuant to 42 U.S.C. §1983, 28 U.S.C. §1331,

     §1343(a)(3), and supplemental jurisdiction as to state law claims under 28 U.S.C. §1367(a).


B.   BRIEF EXPLANATION OF THE CASE

     1.     Plaintiffs’ claims:    On July 25, 2019, Josef Richardson and his girlfriend Jessica

            Clouatre were occupants Room 5 at the Budget 7 Motel in Port Allen, Louisiana.

            Law enforcement forming a group called the “River West Narcotics Task Force”

            obtained a search warrant for this room after allegedly receiving a tip that drugs were

            being sold from that room. The agents sought and were granted a “no knock”

            warrant. Upon information and belief, it was the practice of members of the River

            West Narcotics Task Force to routinely seek no knock warrants.

                   One of the officers who executed this warrant was West Baton Rouge Parish

           Deputy Vance Mantranga. Upon information and belief, Defendant Mantranga has

           had previous excessive use of force complaints filed against him, and has a reputation

           for acting in such a manner. Upon information and belief, West Baton Rouge Sheriff

           Mike Cazes had not taken sufficient previous disciplinary action against Defendant

           Mantranga.

                   According to Ms. Clouatre who witnessed the entire incident, Mr. Richardson
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           was clothed only in his underwear when members of the River West Narcotics Task

           Force executed the search warrant. As Mr. Richardson was surrendering to deputies

           and being handcuffed, Deputy Mantranga shot Mr. Richardson in the back of the head,

           killing him. While Deputy Mantranga claims to have seen Mr. Richardson reaching

           for what he believed to be a weapon, no weapon was found on Mr. Richardson or in

           the hotel room.

                   As a result of this excessive use of force, the Plaintiffs—Mr. Richardson’s

           three children—have all suffered and continue to suffer extraordinary damages.

     2.     Defendant claims:

            On July 25, 2019, members of a law enforcement Task Force , including West Baton

     Rouge Parish Sheriff’s Deputy Vance Matranga, were executing a search warrant at the

     Budget 7 Motel in Port Allen, Louisiana. The officers had reason to believe that Josef

     Richardson was distributing methamphetamine and was armed with a handgun. Upon

     execution of the warrant, Mr. Richardson was noncompliant with commands to show his

     hands and resisted arrest. During the encounter, Deputy Matranga, believing that Mr.

     Richardson was retrieving a handgun and that a fellow officer was in immediate danger of

     being killed or receiving great bodily injury, fired one round from his service weapon,

     striking Mr. Richardson. Mr. Richardson succumbed to his injuries on scene.

C.   PENDING MOTIONS

     List any pending motion(s), the date filed, and the basis of the motion(s):

     There are no pending motions by either party that are unresolved at this time.

D.   ISSUES

     List the principal legal issues involved and indicate whether or not any of those issues are

     in dispute:

     1.) Whether Defendants are entitled to qualified immunity. This issue is in dispute.

     2.) Whether Plaintiffs have stated a claim upon which relief may be granted. This issue
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          will be in dispute.

     3.) Whether the actions of the defendants were taken in good faith. This issue will be in

          dispute.

     4.) Whether defendants enjoy any Louisiana statutory immunity. This issue is in dispute.

     5.) Whether any statutory limitation on liability contained in La. R;S; 13:5106 and La.

          R.S. 13:5112 are applicable. This issue is in dispute.

E.   DAMAGES

     Separately, for each party who claims damages or an offset, set forth the computation of

     damages or the offset:

             1.      Plaintiff’s calculation of damages: Plaintiffs are still in the process of

                     receiving treatment, as well as collecting records to accurately answer this

                     question.

             2.      Defendant’s calculation of offset and/or plaintiff’s damages
             3.      Counterclaimant/cross claimant/third party’s calculation of damages:

F.   SERVICE:

     Identify any unresolved issues as to waiver or service of process, personal jurisdiction, or

     venue: All known Defendants have waived service through counsel. Defendants whose

     identity is yet to be determined will be properly served when identified by Plaintiffs.

G.   DISCOVERY

     1.      Initial Disclosures:

             A.      Have the initial disclosures required under FRCP 26(a)(1) been completed?

                                      [ ] YES      [X ] NO

             In accordance with Local Rule 26(b), the parties shall provide their initial

             disclosures to the opposing party no later than 7 days before the date of the

             scheduling conference, unless a party objects to initial disclosures during the FRCP

             26(f) conference and states the objection below.
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     B.     Do any parties object to initial disclosures?

                             [ ] YES     [ X ] NO

     For any party who answered yes, please explain your reasons for objecting.

2.   Briefly describe any discovery that has been completed or is in progress:

     By plaintiff(s): (1) Collection of medical records of Plaintiffs;

     Identification of experts; (2) Propounding discovery regarding the Juy 25,

     2019 incident; (3) Propounding discovery regarding the practices,

     patterns, protocols, training, and customs of the Denham Springs Police

     Department; (4) Propounding discovery regarding the employment files,

     disciplinary records, and prior litigation involving the officers involved

     in the July 25, 2019 incident; (5) Propounding discovery regarding other

     excessive use of force claims; (6) Scheduling depositions of all relevant

     witnesses.

     By defendant(s):

     None as of this time.

3.   Please describe any protective orders or other limitations on discovery that may be

     required/sought during the course of discovery. (For example: are there any

     confidential business records or medical records that will be sought? Will

     information that is otherwise privileged be at issue?)

     Plaintiffs’ medical records will be at issue in this litigation to prove damages.

     Plaintiffs will provide waivers for all relevant medical records to Defendants in

     recognition of their discovery rights.

4.   Discovery from experts:

     Identify the subject matter(s) as to which expert testimony will be offered:

     By plaintiff(s): (1) Proper Use of Force Training, Practices, Protocols, and

     Customs by Police; (2) Plaintiffs’ psychiatric and psychological damages
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          suffered as a result of Defendants’ actions.

          By defendant(s):

          Defendants may offer testimony in the area of police policy and training.

H.   PROPOSED SCHEDULING ORDER1

     1.   If the parties propose an alternative timeframe for exchanging initial disclosures,

          please provide that proposed deadline: June 1, 2020.

     2.   Recommended deadlines to join other parties or to amend the pleadings:

          July 31, 2020.

     3.   Filing all discovery motions and completing all discovery except experts:

          November 27, 2020.

     4.   Disclosure of identities and resumés of expert witnesses (if appropriate, you may

          suggest different dates for disclosure of experts in different subject matters):

                 Plaintiff(s): September 8, 2020.

                 Defendant(s): October 1, 2020.

     5.   Exchange of expert reports:

                 Plaintiff(s): November 2, 2020.

                 Defendant(s): December 1, 2020.

     6.   Completion of discovery from experts: December 31, 2020.

     7.   Filing dispositive motions and Daubert motions: January 15, 2021.

     8.   All remaining deadlines and the pre-trial conference and trial date will be included

          in the initial scheduling order. The deadlines will be determined based on the

          presiding judge’s schedule, within the following general parameters.3 The parties

          should not provide any proposed dates for these remaining deadlines.

          a.     Deadline to file pre-trial order (approximately 16 weeks after dispositive

                 motion deadline).

          b.     Deadline to file motions in limine (approximately 20-22 weeks after
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                   dispositive motion deadline).

            c.     Deadline to file responses to motions in limine (approximately 22-24 weeks

                   after dispositive motion deadline).

            d.     Deadline to file an affidavit of settlement efforts (approximately 22-24

                   weeks after dispositive motion deadline).

            e.     Deadline to submit joint jury instructions, voir dire, verdict forms, and trial

                   briefs to the presiding judge (approximately 25-27 weeks after dispositive

                   motion deadline).

            f.     Pre-trial conference date (approximately 18-20 weeks after dispositive

                   motion deadline).

            g.     Trial date (approximately 27-29 weeks after dispositive motion deadline).

     9.     If the general outline of proposed deadlines does not fit the circumstances of your

            particular case, please provide a proposed joint schedule of deadlines which is more

            appropriate for your case.

I.   TRIAL

     1.   Has a demand for trial by jury been made?

                                    [ X ] YES [ ] NO

     2.     Estimate the number of days that trial will require.

                  7 days


J.   OTHER MATTERS

     Are there any specific problems the parties wish to address at the scheduling conference?

                                    [ ] YES      [X ] NO

            i.     If the answer is yes, please explain:

            ii.    If the answer is no, do the parties want the court to cancel the scheduling

                   conference and to enter a scheduling order based on the deadlines set out
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                         in this report? CHECK “NO” IF YOU HAVE NOT SUBMITTED

                         JOINT PROPOSED DEADLINES.

                                          [X ] YES [ ] NO

K.   SETTLEMENT

       1.      Please set forth what efforts, if any, the parties have made to settle this case to
               date.

                        None as of this date.

       2.      Do the parties wish to have a settlement conference:

                                          [X ] YES [ ] NO

       If your answer is yes, at what stage of litigation would a settlement conference be most

       beneficial?

                        At the completion of discovery before dispositive motions are due,

       approximately the end of January 2021.


L.     CONSENT TO JURISDICTION BY A MAGISTRATE JUDGE

       You have the right to waive your right to proceed before a United States District Judge

       and may instead consent to proceed before a United States Magistrate Judge.

       Indicate whether, at this time, all parties will agree, pursuant to 28 U.S.C. § 636(c), to

       have a Magistrate Judge handle all the remaining pretrial aspects of this case and preside

       over a jury or bench trial, with appeal lying to the United States Court of Appeals for the

       Fifth Circuit.

               All parties agree to jurisdiction by a Magistrate Judge of this court:

                                          [ ] YES    [ X] NO

If your response was “yes” to the preceding question, all attorneys and unrepresented

parties should sign the attached form to indicate your consent.
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Report dated: May 7, 2020


                                        Respectfully submitted,

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